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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON

     UNITED STATES OF AMERICA,                    )
                                                  )
                                                  )
                           Plaintiff,             )
            v.                                    )
                                                  )
                                                  )
     WALTINE NAUTA, and                           )
     CARLOS DE OLIVEIRA,                          )
                                                  )
                           Defendants.            )
                                                  )

                                 NOTICE OF WITHDRAWAL

            NOTICE IS HEREBY GIVEN that Elizabeth J. Shapiro, Civil Division, United

     States Department of Justice, withdraws her appearance in this case on behalf of the

     United States. The United States will continue to be represented in this matter by the

     United States Attorney for the Southern District of Florida.


     Dated: January 31, 2025                          Respectfully submitted,

                                                      BRETT A. SHUMATE
                                                      Acting Assistant Attorney General


                                                      _s/ Elizabeth J. Shapiro
                                                      ELIZABETH J. SHAPIRO
                                                      D.C. Bar No. 418925
                                                      Special Bar ID #A5502352
                                                      United States Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      P.O. Box 883
                                                      Washington, D.C. 20044
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                                    CERTIFICATE OF SERVICE

               I hereby certify that on January 31, 2025, I electronically filed the foregoing paper

     with the Clerk of the Court using the ECF system, which sends notice to all counsel of

     record.

                                                     /s/ Elizabeth J. Shapiro
                                                     Elizabeth J. Shapiro
